                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                                    No. 3:06-CR-74-2BR

UNITED STATES OF AMERICA,                           )
                                                    )
              v.                                    )              ORDER
                                                    )
                                                    )
RICKY EDWARD GRAVES                                 )


       This matter is before the court on defendant’s motions to dismiss both counts of the

indictment. The government has responded to the motions, and defendant filed a reply. On 13

February 2007, the grand jury returned a superseding indictment, charging defendant with the same

crimes as in the original indictment. The court assumes defendant renews his motions to dismiss

and construes the motions as to the superseding indictment. Having fully considered the motions,

they are DENIED.

       Finally, given that the co-defendants have pled guilty and the court has accepted all plea

agreements, defendant’s motion to sever is DENIED as moot.

       This 23 February 2007.




                                            __________________________________
                                                  W. Earl Britt
                                                  Senior U.S. District Judge




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